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Articles and Monographs

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³)LQDQFLQJ8QHPSOR\PHQW,QVXUDQFH+LVWRU\,QFHQWLYHVDQG5HIRUP´LQ
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³6HFWRUDO8QFHUWDLQW\DQG8QHPSOR\PHQW´ ZLWK/:HLVV 8&/$'HSDUWPHQWRI
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and Labor UtilizationHG5$+DUW%RVWRQ$OOHQ 8QZLQ
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Research in Labor Economics 35th Anniversary Retrospective, 2012, 401-435.

³7KH(YROXWLRQRI8QHPSOR\PHQWLQWKH8QLWHG6WDWHV´ ZLWK.0
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Economics 0D\ 
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Political Economy )HEUXDU\ 5HSULQWHGLQOutstanding Contributions
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&KDQJLQJ3ULFHRI6NLOOV´,QImmigration and the Work Force: Economic Consequences
for the United States and Source AreasHG*%RUMDVDQG5)UHHPDQ&KLFDJR
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³/DERU0DUNHWVDQG(FRQRPLF*URZWK´LQHandbook of Labor EconomicsHG2UOH\
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Gains from Medical Research: An Economic ApproachHGLWHGE\.HYLQ00XUSK\DQG
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Economics of Education, 1RUWK+ROODQG
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³7KH6RFLDO9DOXHRI(GXFDWLRQ´Keynote Address, Federal Reserve Bank of Cleveland
Conference on Education and Economic Development, November 2004, LQEducation and
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Conflict, 0XQLFK'HFHPEHU)HEUXDU\
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$$$&DVH1R([SHUWRQEHKDOIRI*HQHUDO0LOOV,QFLQDQ
DUELWUDWLRQFDVH([SHUW5HSRUW2FWREHU
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0LFKDHO$OODUGY*HQHUDO0LOOV,QF%HIRUHWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ
$$$&DVH1R([SHUWRQEHKDOIRI*HQHUDO0LOOV,QFLQDQ
DUELWUDWLRQFDVH([SHUW5HSRUW2FWREHU
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&XQJ/HHWDOY=XIID//&GED8OWLPDWH)LJKWLQJ&KDPSLRQVKLSDQG8)&
8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH'LVWULFWRI1HYDGD&DVH1RFY
5)%3$/([SHUWRQEHKDOIRI=XIID//&([SHUW5HSRUW2FWREHU
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Case 2:15-cv-01045-RFB-BNW Document 696-10 Filed 07/12/19 Page 33 of 39



0LFKDHO0XUUD\Y*HQHUDO0LOOV,QF%HIRUHWKH$PHULFDQ$UELWUDWLRQ
$VVRFLDWLRQ$$$&DVH1R([SHUWRQEHKDOIRI*HQHUDO0LOOV,QFLQ
DQDUELWUDWLRQFDVH([SHUW5HSRUW-DQXDU\
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-DPHV+HIOLQY*HQHUDO0LOOV,QF%HIRUHWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ
$$$&DVH1R([SHUWRQEHKDOIRI*HQHUDO0LOOV,QFLQDQ
DUELWUDWLRQFDVH([SHUW5HSRUW)HEUXDU\
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'HQLVH+ROW]Y*HQHUDO0LOOV,QF%HIRUHWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ
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DUELWUDWLRQFDVH([SHUW5HSRUW0DUFK
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'HQLVH+ROW]Y*HQHUDO0LOOV,QF%HIRUHWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ
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DUELWUDWLRQFDVH7HVWLPRQ\$SULO
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3HJJ\0D[HY*HQHUDO0LOOV,QF%HIRUHWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ
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DUELWUDWLRQFDVH([SHUW5HSRUW$SULO
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    Case 2:15-cv-01045-RFB-BNW Document 696-10 Filed 07/12/19 Page 34 of 39
                            +LJKO\&RQILGHQWLDO8QGHU3URWHFWLYH2UGHU
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5HSRUWVDQG'HFODUDWLRQV
    x ([SHUW5HSRUWRI3URIHVVRU5REHUW+7RSHOCung Le, et al., v. Zuffa, LLC d/b/a Ultimate
       Fighting Championship and UFC&DVH1RFY5)%3$/ '1HY 
        2FWREHU 
    x 6XU5HEXWWDO([SHUW5HSRUWRI3URIHVVRU5REHUW+7RSHOCung Le, et al., v. Zuffa, LLC
       d/b/a Ultimate Fighting Championship and UFC&DVH1RFY5)%3$/ '
       1HY  )HEUXDU\ 
    x ([SHUW5HSRUWRI+DO-6LQJHU3K'Cung Le, et al., v. Zuffa, LLC d/b/a Ultimate
       Fighting Championship and UFC&DVH1RFY5)%3$/ '1HY  $XJXVW
        
    x 5HEXWWDO([SHUW5HSRUWRI+DO-6LQJHU3K'Cung Le, et al., v. Zuffa, LLC d/b/a
       Ultimate Fighting Championship and UFC&DVH1RFY5)%3$/ '
       1HY  -DQXDU\ 
    x 6XSSOHPHQWDO([SHUW5HSRUWRI+DO-6LQJHU3K'Cung Le, et al., v. Zuffa, LLC d/b/a
       Ultimate Fighting Championship and UFC&DVH1RFY5)%3$/ '
       1HY  $SULO 
2WKHU&DVH0DWHULDOV
    x 6LQJHU%DFNXS
    x 6LQJHU5HEXWWDO%DFNXS
    x 6LQJHU6XSSOHPHQWDO%DFNXS
%RRNV
    x )HGHUDO-XGLFLDO&HQWHUReference Manual on Scientific Evidence.:DVKLQJWRQ'&
       7KH1DWLRQDO$FDGHPLHV3UHVV GHG 
                   Case 2:15-cv-01045-RFB-BNW Document 696-10 Filed 07/12/19 Page 35 of 39




ǆŚŝďŝƚϭ͗ƵĨĨĂWĞƌͲǀĞŶƚŽƐƚƐ

                              ^ŝŶŐĞƌWƌŽŵŽƚŝŽŶĂůŽƐƚƐ            ǀĞŶƚWƌŽŵŽƚŝŽŶĂůŽƐƚƐ            ǀĞŶƚWƌŽĚƵĐƚŝŽŶŽƐƚƐ                KƚŚĞƌǀĞŶƚŽƐƚƐ            dŽƚĂůEŽŶͲ&ŝŐŚƚĞƌǀĞŶƚŽƐƚƐ

                    ϮϬϬϴ                  Ψϲϴϰ͕ϭϴϮ                           Ψϲϭϰ͕ϯϱϴ                         Ψϭ͕ϴϭϳ͕ϭϳϯ                           Ψϲϵϰ͕ϳϴϵ                         Ψϯ͕ϭϮϲ͕ϯϮϬ
                    ϮϬϬϵ                  Ψϴϯϯ͕Ϯϯϴ                           Ψϲϱϭ͕ϳϴϲ                         Ψϭ͕ϴϰϮ͕ϰϳϭ                           Ψϳϰϱ͕ϲϳϭ                         Ψϯ͕Ϯϯϵ͕ϵϮϴ
                    ϮϬϭϬ                Ψϭ͕Ϭϲϳ͕Ϯϳϲ                           Ψϴϯϳ͕ϭϴϳ                         Ψϭ͕ϴϳϱ͕Ϯϳϲ                           Ψϴϭϭ͕ϰϮϳ                         Ψϯ͕ϱϮϯ͕ϴϴϵ
                    ϮϬϭϭ                  Ψϴϭϯ͕Ϭϲϭ                           ΨϲϮϭ͕ϳϭϰ                         Ψϭ͕ϱϲϯ͕ϱϮϱ                           ΨϴϭϬ͕ϭϰϲ                         ΨϮ͕ϵϵϱ͕ϯϴϱ
                    ϮϬϭϮ                Ψϭ͕ϯϬϮ͕ϳϭϳ                         Ψϭ͕Ϭϲϭ͕ϮϴϮ                         ΨϮ͕ϲϯϵ͕ϵϰϮ                         Ψϭ͕ϬϬϭ͕ϯϱϴ                         Ψϰ͕ϳϬϮ͕ϱϴϮ
                    ϮϬϭϯ                Ψϭ͕ϳϬϰ͕ϲϴϰ                         Ψϭ͕ϯϮϵ͕ϱϱϲ                         ΨϮ͕ϯϴϭ͕Ϭϲϰ                         Ψϭ͕ϭϭϰ͕ϳϱϮ                         Ψϰ͕ϴϮϱ͕ϯϳϮ
                    ϮϬϭϰ                Ψ                                    Ψ                                Ψ                                    Ψ                                Ψ
                    ϮϬϭϱ                Ψ                                  Ψ                                  Ψ                                  Ψ                                  Ψ
                    ϮϬϭϲ                Ψ                                  Ψ                                  Ψ                                  Ψ                                  Ψ



EŽƚĞƐ͗
΀ϭ΁ ŽƐƚƐĂƌĞŝŶϮϬϭϲĚŽůůĂƌƐ͕ĚĞĨůĂƚĞĚƵƐŝŶŐƚŚĞW/Ͳh͘
΀Ϯ΁ dŚĞ^ŝŶŐĞƌWƌŽŵŽƚŝŽŶĂůǆƉĞŶƐĞƐŝŶĐůƵĚĞĂůůƵĨĨĂĂŶĚ^ƚƌŝŬĞĨŽƌĐĞĞǆƉĞŶƐĞƐĐůĂƐƐŝĨŝĞĚĂƐƉƌŽŵŽƚŝŽŶĂůĞǆƉĞŶƐĞƐďǇƌ͘^ŝŶŐĞƌ͘dŚŝƐŝŶĐůƵĚĞƐĞǆƉĞŶƐĞƐƵŶƌĞůĂƚĞĚƚŽWWs͕dĞůĞǀŝƐĞĚĂŶĚ>ŝǀĞǀĞŶƚƐ͘
΀ϯ΁ ƵĨĨĂWΘ>ƐĂƌĞŽƌŐĂŶŝǌĞĚĚŝĨĨĞƌĞŶƚůǇŝŶϮϬϬϴͲϮϬϭϯƚŚĂŶŝŶϮϬϭϰͲϮϬϭϱĂŶĚŝŶϮϬϭϲ͘
΀ϰ΁ ƵĨĨĂǀĞŶƚWƌŽŵŽƚŝŽŶĂůŽƐƚƐŝŶĐůƵĚĞƚŚĞĨŽůůŽǁŝŶŐůŝŶĞŝƚĞŵƐ͗
    ΀Ă΁&ƌŽŵƚŚĞΗWWsǆƉĞŶƐĞƐΗĂŶĚΗ>ŝǀĞͬdĂƉĞĞůĂǇdsǆƉĞŶƐĞƐΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϬϴͲϮϬϭϯWΘ>Ɛ͗dŝĐŬĞƚĚǀĞƌƚŝƐŝŶŐ͕KƚŚĞƌĚͬƌŽĂĚĐĂƐƚŽƐƚƐ͕ƌŽĂĚĐĂƐƚĚǀĞƌƚŝƐŝŶŐ͕WWsĚǀĞƌƚŝƐŝŶŐ͕
    WƌŽŵŽƚŝŽŶĂůͬ'ŝǀĞĂǁĂǇƐ͕ǀĞŶƚZĞůĂƚĞĚWƌŽŵŽƚŝŽŶƐ͕ůŽƐĞĚŝƌĐƵŝƚĚǀĞƌƚŝƐŝŶŐĂŶĚƌĂŶĚŝŶŐ͘
    ΀ď΁&ƌŽŵƚŚĞΗŽŶƚĞŶƚǆƉĞŶƐĞΗĂŶĚΗ>ŝǀĞǀĞŶƚƐǆƉĞŶƐĞΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϭϰͲϮϬϭϱWΘ>Ɛ͗ĂŶǇŽĨƚŚĞůŝŶĞŝƚĞŵƐŝŶϰ΀Ă΁͕ŝĨĂƉƉůŝĐĂďůĞ͕ĂƐǁĞůůĂƐ&ŽǆĚǀĞƌƚŝƐŝŶŐ'ƌŽƐƐhƉĂŶĚKƚŚĞƌͬŝŐŝƚĂů
    ΀Đ΁&ƌŽŵƚŚĞΗŽŶƚĞŶƚǆƉĞŶƐĞΗĂŶĚΗ>ŝǀĞǀĞŶƚƐǆƉĞŶƐĞΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϭϲWΘ>Ɛ͗ĂŶǇŽĨƚŚĞůŝŶĞŝƚĞŵƐŝŶϰ΀Ă΁Ͳ΀ď΁͕ŝĨĂƉƉůŝĐĂďůĞ͕ĂƐǁĞůůĂƐŽŵŵĞƌĐŝĂůWWsDĂƌŬĞƚŝŶŐ͕ŽŵŵĞƌĐŝĂůWWsͲKKW
    DĂƌŬĞƚŝŶŐ͕KKWDĂƌŬĞƚŝŶŐ͕ŝŐŝƚĂůDĂƌŬĞƚŝŶŐ͕ǀĞŶƚƌĂŶĚŝŶŐ͕ǀĞŶƚWƌŽŵŽƐ͕/ŶƚĞƌŶĂƚŝŽŶĂůƌĂŶĚDĂƌŬĞƚŝŶŐ͕KƚŚĞƌƌĂŶĚŝŶŐ͕KƵƚĚŽŽƌDĂƌŬĞƚŝŶŐ͕WWsŽŶƚƌĂĐƚƵĂůDĂƌŬĞƚŝŶŐ͕WƌŝŶƚDĂƌŬĞƚŝŶŐ͕
    ZĂĚŝŽDĂƌŬĞƚŝŶŐ͕ZĞƚĂŝůDĂƌŬĞƚŝŶŐ͕^ŽĐŝĂůDĞĚŝĂDĂƌŬĞƚŝŶŐ͕dĞůĞǀŝƐŝŽŶDĂƌŬĞƚŝŶŐ͕dŚŝƌĚWĂƌƚǇdŝĐŬĞƚDĂƌŬĞƚŝŶŐ͕ĂŶĚsĞŶƵĞdŝĐŬĞƚDĂƌŬĞƚŝŶŐ͘
΀ϱ΁ ƵĨĨĂǀĞŶƚWƌŽĚƵĐƚŝŽŶĐŽƐƚƐŝŶĐůƵĚĞƚŚĞĨŽůůŽǁŝŶŐůŝŶĞŝƚĞŵƐ͗
    ΀Ă΁&ƌŽŵƚŚĞΗWWsǆƉĞŶƐĞƐΗĂŶĚΗ>ŝǀĞͬdĂƉĞĞůĂǇdsǆƉĞŶƐĞƐΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϬϴͲϮϬϭϯWΘ>Ɛ͗'ƌĂƉŚŝĐƐ͕'ƌĂƉŚŝĐƐ͕WŽƐƚĞƌƐ͕Θƌƚ͕^ĞƚĞƐŝŐŶΘŽŶƐƚƌƵĐƚŝŽŶ͕ŽŶƚƌĂĐƚWƌŽĚƵĐƚŝŽŶ͕EŽŶͲŽŶƚƌĂĐƚ
    WƌŽĚƵĐƚŝŽŶ͕ƋƵŝƉŵĞŶƚZĞŶƚĂů͕sŝĚĞŽWƌŽĚƵĐƚŝŽŶŽƐƚƐ͕ŶŶŽƵŶĐĞƌƐ͕ĂŶĚ^ŝŐŶĂů/ŶƐƵƌĂŶĐĞ͘
    ΀ď΁&ƌŽŵƚŚĞΗŽŶƚĞŶƚǆƉĞŶƐĞΗĂŶĚΗ>ŝǀĞǀĞŶƚƐǆƉĞŶƐĞΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϭϰͲϮϬϭϱWΘ>Ɛ͗ĂŶǇŽĨƚŚĞůŝŶĞŝƚĞŵƐŝŶϱ΀Ă΁͕ŝĨĂƉƉůŝĐĂďůĞ͕ĂƐǁĞůůĂƐWƌŽĚƵĐƚŝŽŶͲǀĞŶƚƐ͘
    ΀Đ΁&ƌŽŵƚŚĞΗŽŶƚĞŶƚǆƉĞŶƐĞΗĂŶĚΗ>ŝǀĞǀĞŶƚƐǆƉĞŶƐĞΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϭϲWΘ>Ɛ͗ĂŶǇŽĨƚŚĞůŝŶĞŝƚĞŵƐŝŶϱ΀Ă΁Ͳ΀ď΁͕ŝĨĂƉƉůŝĐĂďůĞ͕ĂƐǁĞůůĂƐƵĚŝŽWƌŽĚƵĐƚŝŽŶ͕KƚŚĞƌWƌŽĚƵĐƚŝŽŶŽƐƚƐ͕
    WƌŽĚƵĐƚŝŽŶ^ƚĂƚƐ͕ĂŶĚhůƚŝŵĂƚĞ&ŝŐŚƚĞƌWƌŽĚƵĐƚŝŽŶ͘
΀ϲ΁ KƚŚĞƌƵĨĨĂǀĞŶƚŽƐƚƐŝŶĐůƵĚĞƚŚĞĨŽůůŽǁŝŶŐůŝŶĞŝƚĞŵƐ͗
    ΀Ă΁&ƌŽŵƚŚĞΗWWsǆƉĞŶƐĞƐΗĂŶĚΗ>ŝǀĞͬdĂƉĞĞůĂǇdsǆƉĞŶƐĞƐΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϬϴͲϮϬϭϯWΘ>Ɛ͗ĂůůůŝŶĞŝƚĞŵƐĞǆĐĞƉƚĨŽƌƚŚŽƐĞĐůĂƐƐŝĨŝĞĚĂƐǀĞŶƚWƌŽŵŽƚŝŽŶĂůŽƐƚƐ͕ǀĞŶƚWƌŽĚƵĐƚŝŽŶŽƐƚƐ͕ĂŶĚ
    ůŝŶĞŝƚĞŵƐƌĞůĂƚĞĚƚŽĂƚŚůĞƚĞĐŽŵƉĞŶƐĂƚŝŽŶ;&ŝŐŚƚĞƌWƵƌƐĞ͕&ŝŐŚƚĞƌŽŶƵƐ͕&/ŐŚƚĞƌ^ƉŽŶƐŽƌƐŚŝƉ͕>KWĂǇŵĞŶƚ͕ĂŶĚKƚŚĞƌ&ŝŐŚƚĞƌŽƐƚƐͿ͘
    ΀ď΁&ƌŽŵƚŚĞΗŽŶƚĞŶƚǆƉĞŶƐĞΗĂŶĚΗ>ŝǀĞǀĞŶƚƐǆƉĞŶƐĞΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϭϰͲϮϬϭϱWΘ>Ɛ͗ĂůůůŝŶĞŝƚĞŵƐĞǆĐĞƉƚĨŽƌƚŚŽƐĞĐůĂƐƐŝĨŝĞĚĂƐǀĞŶƚWƌŽŵŽƚŝŽŶĂůŽƐƚƐ͕ǀĞŶƚWƌŽĚƵĐƚŝŽŶŽƐƚƐ͕ĂŶĚůŝŶĞ
    ŝƚĞŵƐƌĞůĂƚĞĚƚŽĂƚŚůĞƚĞĐŽŵƉĞŶƐĂƚŝŽŶ;ĂŶǇŽĨƚŚĞůŝŶĞŝƚĞŵƐŝŶϲ΀Ă΁͕ŝĨĂƉƉůŝĐĂďůĞ͕ĂƐǁĞůůĂƐ&ŝŐŚƚĞƌŽŵƉ͕ZĞĨĞƌĞĞƐ͕DĞĚŝĐĂů͕ƚŚůĞƚĞŽŶƵƐ͕ƚŚůĞƚĞWƵƌƐĞ͕ĂŶĚƚŚůĞƚĞWƵƌƐĞͲ>KͿ͘ůƐŽĞǆĐůƵĚĞƐ
    ůŝŶĞŝƚĞŵƐŶŽƚŝŶĐůƵĚĞĚŝŶƉƌŝŽƌǇĞĂƌΗWWsǆƉĞŶƐĞƐΗĂŶĚΗ>ŝǀĞͬdĂƉĞĞůĂǇdsǆƉĞŶƐĞƐΗƚŚĂƚĚŽŶŽƚĂƉƉĞĂƌƚŽďĞĞǀĞŶƚͲƌĞůĂƚĞĚ͘
    ΀Đ΁&ƌŽŵƚŚĞΗŽŶƚĞŶƚǆƉĞŶƐĞΗĂŶĚΗ>ŝǀĞǀĞŶƚƐǆƉĞŶƐĞΗƐĞĐƚŝŽŶƐŽĨƚŚĞŝƌϮϬϭϲWΘ>Ɛ͗ĂůůůŝŶĞŝƚĞŵƐĞǆĐĞƉƚĨŽƌƚŚŽƐĞĐůĂƐƐŝĨŝĞĚĂƐǀĞŶƚWƌŽŵŽƚŝŽŶĂůŽƐƚƐ͕ǀĞŶƚWƌŽĚƵĐƚŝŽŶŽƐƚƐ͕ĂŶĚůŝŶĞŝƚĞŵƐ
    ƌĞůĂƚĞĚƚŽĂƚŚůĞƚĞĐŽŵƉĞŶƐĂƚŝŽŶ;ĂŶǇŽĨƚŚĞůŝŶĞŝƚĞŵƐŝŶϲ΀Ă΁Ͳ΀ď΁͕ŝĨĂƉƉůŝĐĂďůĞ͕ĂƐǁĞůůĂƐƚŚůĞƚĞĚũƵƐƚŵĞŶƚƐ͕&ŝŐŚƚĞƌŽŶƵƐͲŝƐĐ͕&ŝŐŚƚĞƌŽŶƵƐͲ&KE͕&ŝŐŚƚĞƌŽŶƵƐͲWWs͕&ŝŐŚƚĞƌŽŶƵƐͲ^ŝŐŶŝŶŐ͕
    &ŝŐŚƚĞƌWƵƌƐĞͲ^ŚŽǁ͕ĂŶĚ&ŝŐŚƚĞƌWƵƌƐĞͲtŝŶͿ͘ůƐŽĞǆĐůƵĚĞƐůŝŶĞŝƚĞŵƐŶŽƚŝŶĐůƵĚĞĚŝŶƉƌŝŽƌǇĞĂƌΗWWsǆƉĞŶƐĞƐΗĂŶĚΗ>ŝǀĞͬdĂƉĞĞůĂǇdsǆƉĞŶƐĞƐΗƚŚĂƚĚŽŶŽƚĂƉƉĞĂƌƚŽďĞĞǀĞŶƚͲƌĞůĂƚĞĚ͘


^ŽƵƌĐĞƐ͗
΀ϭ΁ ƵĨĨĂWƌŽŵŽƚŝŽŶdĂďůĞƐͺ<͘ǆůƐǆ;^ŝŶŐĞƌ^ƵƌƌĞďƵƚƚĂůĂĐŬƵƉͿ
΀Ϯ΁ ^ŚĞƌĚŽŐĞŶŽŵĨŽƌDĂƌŬĞƚ^ŚĂƌĞƐ͘ĚƚĂ;^ŝŶŐĞƌĂĐŬƵƉͿ




,ŝŐŚůǇŽŶĨŝĚĞŶƚŝĂůhŶĚĞƌWƌŽƚĞĐƚŝǀĞKƌĚĞƌ
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ǆŚŝďŝƚϮ͗^ŝŶŐĞƌ/ŵƉĂĐƚZĞŐƌĞƐƐŝŽŶƐ͕ŝŶĐůƵĚŝŶŐDŽĚŝĨŝĞĚ^ŝŶŐĞƌ/ŵƉĂĐƚZĞŐƌĞƐƐŝŽŶǁŝƚŚǀĞŶƚŽƐƚƐŽŶZŝŐŚƚ,ĂŶĚ^ŝĚĞ

                                                                                                                                                                                           ^ŝŶŐĞƌKƌŝŐŝŶĂůZĞŐƌĞƐƐŝŽŶ͕ŝŶĐůƵĚŝŶŐ
                                                                                       ZĞƉůŝĐĂƚĞ^ŝŶŐĞƌKƌŝŐŝŶĂůZĞŐƌĞƐƐŝŽŶ             ^ŝŶŐĞƌKƌŝŐŝŶĂůZĞŐƌĞƐƐŝŽŶ͕ǆĐůƵĚŝŶŐ
                                                                                                                                                                                           ĂůůŶŽŶͲĂƚŚůĞƚĞĐŽŵƉĞŶƐĂƚŝŽŶĞǀĞŶƚ
                                                                                                  ;^Zϭ͕dĂďůĞϲͿ                            ŽƵƚƐDŝƐƐŝŶŐǀĞŶƚͲ>ĞǀĞůŽƐƚƐ
                                                                                                                                                                                                          ĐŽƐƚƐ΀Ϯ΁
                                                                                            ;ϭͿ             ;ϮͿ              ;ϯͿ              ;ϰͿ              ;ϱͿ             ;ϲͿ             ;ϳͿ          ;ϴͿ           ;ϵͿ

    &ŽƌĞĐůŽƐƵƌĞ^ŚĂƌĞͲdƌĂĐŬĞĚ                                                          ͲϬ͘ϬϯϯΎ                                            ͲϬ͘ϬϮϮ                                           ͲϬ͘Ϭϭϵ
                                                                                         ΀Ϭ͘Ϭϰϯ΁                                           ΀Ϭ͘Ϯϯϯ΁                                           ΀Ϭ͘ϯϭϬ΁
    &ŽƌĞĐůŽƐƵƌĞ^ŚĂƌĞͲZĂŶŬĞĚ                                                                            ͲϬ͘ϬϰϯΎ                                           ͲϬ͘Ϭϯϱ                                            ͲϬ͘ϬϯϬ
                                                                                                          ΀Ϭ͘ϬϯϮ΁                                           ΀Ϭ͘Ϭϴϲ΁                                           ΀Ϭ͘ϭϱϯ΁
    &ŽƌĞĐůŽƐƵƌĞ^ŚĂƌĞͲ,ĞĂĚůŝŶĞƌ                                                                                         ͲϬ͘ϬϯϮΎ                                             ͲϬ͘ϬϮϭ                                           ͲϬ͘Ϭϭϵ
                                                                                                                          ΀Ϭ͘Ϭϰϲ΁                                            ΀Ϭ͘ϮϱϬ΁                                           ΀Ϭ͘ϯϮϳ΁
    >ŽŐ;ǀĞŶƚŽƐƚƐͲǀĞŶƚ&ŝŐŚƚĞƌŽŵƉͿ                                                                                                                                                  ͲϬ͘ϬϬϳΎΎ         ͲϬ͘ϬϬϳΎΎ         ͲϬ͘ϬϬϳΎΎ
                                                                                                                                                                                             ΀Ϭ͘ϬϬϬ΁          ΀Ϭ͘ϬϬϬ΁          ΀Ϭ͘ϬϬϬ΁
    ŽŶƐƚĂŶƚ                                                                             ͲϬ͘ϭϯϭΎ          ͲϬ͘ϭϴϱΎ         ͲϬ͘ϭϯϯΎ          ͲϬ͘Ϭϴϵ           ͲϬ͘ϭϰϱ           ͲϬ͘ϬϵϬ           ͲϬ͘Ϭϯϯ           ͲϬ͘ϬϴϮ           ͲϬ͘Ϭϯϰ
                                                                                         ΀Ϭ͘Ϭϰϵ΁          ΀Ϭ͘ϬϮϭ΁         ΀Ϭ͘Ϭϰϵ΁          ΀Ϭ͘ϭϰϮ΁          ΀Ϭ͘Ϭϱϲ΁          ΀Ϭ͘ϭϰϲ΁         ΀Ϭ͘ϲϬϳ΁          ΀Ϭ͘ϯϭϲ΁          ΀Ϭ͘ϲϬϵ΁

    KďƐĞƌǀĂƚŝŽŶƐ                                                                          ϳ͕ϭϱϰ            ϳ͕ϭϱϰ           ϳ͕ϭϱϰ            ϳ͕Ϭϲϳ            ϳ͕Ϭϲϳ           ϳ͕Ϭϲϳ            ϳ͕Ϭϲϳ            ϳ͕Ϭϲϳ            ϳ͕Ϭϲϳ


EŽƚĞƐ͗
΀ϭ΁ ŽůƵŵŶƐϭͲϯƌĞƉůŝĐĂƚĞdĂďůĞϲŽĨƌ͘^ŝŶŐĞƌΖƐĨŝƌƐƚƌĞƉŽƌƚ͘ŽůƵŵŶƐϰͲϲĞǆĐůƵĚĞďŽƵƚƐƚŚĂƚĂƌĞŵŝƐƐŝŶŐŝŶĨŽƌŵĂƚŝŽŶŽŶĞǀĞŶƚƚŽƚĂůĐŽƐƚƐ͘ŽůƵŵŶƐϳͲϵŝŶĐůƵĚĞůŽŐŐĞĚ;ǀĞŶƚŽƐƚƐͲƚŚůĞƚĞŽŵƉĞŶƐĂƚŝŽŶͿ͘dŚŝƐĂĚĚŝƚŝŽŶĂůǀĂƌŝĂďůĞ
    ŝƐĐĂůĐƵůĂƚĞĚƵƐŝŶŐƌ͘^ŝŶŐĞƌΖƐΗĞǀĞŶƚͺƚŽƚĂůĐŽƐƚƐΗĂŶĚΗĞǀĞŶƚͺƚŽƚĂůͺĨŝŐŚƚĞƌͺĐŽŵƉΗĨŝĞůĚƐ͘
΀Ϯ΁ ŽůƵŵŶƐϳͲϵĞǆĐůƵĚĞďŽƵƚƐŵŝƐƐŝŶŐĞǀĞŶƚͲůĞǀĞůĐŽƐƚŝŶĨŽƌŵĂƚŝŽŶ
΀ϯ΁ ZŽďƵƐƚƉͲǀĂůƵĞƐĂƌĞŝŶďƌĂĐŬĞƚƐ͘ΎΎƉф͘Ϭϭ͕ΎƉф͘Ϭϱ͘

^ŽƵƌĐĞ͗
΀ϭ΁ ZĞŐƌĞƐƐŝŽŶĂƚĂ͘ĚƚĂ;^ŝŶŐĞƌĂĐŬƵƉͿ




,ŝŐŚůǇŽŶĨŝĚĞŶƚŝĂůhŶĚĞƌWƌŽƚĞĐƚŝǀĞKƌĚĞƌ
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ǆŚŝďŝƚϱ͗ƵĨĨĂǀĞŶƚ>ĞǀĞůŽƐƚƐ͕ZĞǀĞŶƵĞ͕ĂŶĚtĂŐĞ^ŚĂƌĞ

                                                                            ǀĞŶƚŽƐƚƐ                                            ǀĞŶƚƚŚůĞƚĞ
     ǀĞŶƚĂƚĞ              ǀĞŶƚEĂŵĞ                              ;ǆĐůƵĚŝŶŐŽŵƉĞŶƐĂƚŝŽŶͿ                   ǀĞŶƚZĞǀĞŶƵĞ                       ŽŵƉĞŶƐĂƚŝŽŶ      ǀĞŶƚtĂŐĞ^ŚĂƌĞ

             ϬϯͬϮϭͬϭϬ        h&>/s                                         Ψϭ͕ϭϵϭ͕Ϭϱϰ                             ΨϮ͕ϵϵϮ͕ϳϵϰ                         Ψϵϴϯ͕ϱϬϬ           ϯϮ͘ϵй
             ϬϯͬϮϳͬϭϬ        h&ϭϭϭ                                          Ψϲ͕ϬϬϬ͕Ϭϴϱ                            ΨϮϴ͕Ϭϵϳ͕ϲϰϱ                        Ψϯ͕ϳϲϬ͕ϳϱϭ          ϭϯ͘ϰй
             ϬϯͬϯϭͬϭϬ        h&&ŝŐŚƚEŝŐŚƚϮϭ                               Ψϭ͕ϮϭϬ͕ϵϯϯ                             Ψϯ͕ϬϴϬ͕ϴϵϯ                         ΨϳϮϮ͕ϱϬϬ           Ϯϯ͘ϱй
             ϬϳͬϬϳͬϭϲ        h&Eh^Ϯ
             ϬϳͬϬϵͬϭϲ        h&ϮϬϬ


EŽƚĞƐ͗
΀ϭ΁ ǀĞŶƚĐŽƐƚƐĂƌĞĐĂůĐƵůĂƚĞĚƵƐŝŶŐƌ͘^ŝŶŐĞƌΖƐΗĞǀĞŶƚͺƚŽƚĂůĐŽƐƚƐΗĂŶĚΗĞǀĞŶƚͺƚŽƚĂůͺĨŝŐŚƚĞƌͺĐŽŵƉΗǀĂƌŝĂďůĞƐ͘
΀Ϯ΁ ǀĞŶƚƌĞǀĞŶƵĞƐĂƌĞĞƋƵĂůƚŽƌ͘^ŝŶŐĞƌΖƐΗĞǀĞŶƚͺƚŽƚĂůƌĞǀĞŶƵĞƐΗǀĂƌŝĂďůĞ͘
΀ϯ΁ tĂŐĞƐŚĂƌĞŝƐĞƋƵĂůƚŽĂƚŚůĞƚĞƐΖƚŽƚĂůĐŽŵƉĞŶƐĂƚŝŽŶĂƚĂŶĞǀĞŶƚ;ΗĞǀĞŶƚͺƚŽƚĂůͺĨŝŐŚƚĞƌͺĐŽŵƉΗͿĚŝǀŝĚĞĚďǇĞǀĞŶƚƌĞǀĞŶƵĞƐ;ΗĞǀĞŶƚͺƚŽƚĂůƌĞǀĞŶƵĞΗͿ

^ŽƵƌĐĞ͗
΀ϭ΁ ZĞŐƌĞƐƐŝŽŶĂƚĂ͘ĚƚĂ;^ŝŶŐĞƌĂĐŬƵƉͿ




,ŝŐŚůǇŽŶĨŝĚĞŶƚŝĂůhŶĚĞƌWƌŽƚĞĐƚŝǀĞKƌĚĞƌ
